         PLAINTIFFS’
         PLAINTIFFS' EXHIBIT 36




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United States
       States—— EmCare
                EmCare Settlement
                       Settlement Agreement
                                  Agreement


                                   SETTLEMENT
                                   SETTLEMENT AGREEMENT
                                              AGREEMENT

       This
       ThisSettlement
            Settlement Agreement
                       Agreement (Agreement)
                                  (Agreement) isisentered
                                                  entered into  among the
                                                           into among  the United
                                                                           United States
                                                                                  Statesof
                                                                                         of

America, acting through
America, acting  through the
                          the United
                              United States
                                     States Department
                                            Department of
                                                       ofJustice
                                                          Justice and on behalf
                                                                  and on behalfof
                                                                                of the
                                                                                    the Office
                                                                                        Office of
                                                                                               of

Inspector
 Inspector General
           General (OIG-HHS)
                    (OIG-HHS)of the Department
                             ofthe  Department of
                                               ofHealth
                                                  Health and
                                                         and Human
                                                             Human Services
                                                                   Services(HHS),
                                                                            (HHS), the
                                                                                    the

Defense Health Agency
Defense Health Agency (DHA),
                       (DHA), acting
                              acting on
                                     on behalf of the TRICARE
                                        behallolthe           Program, Emergency
                                                      TRICARE Program, Emergency Medical
                                                                                 Medical

Services
Services Corporation, EmCare, Inc.,
         Corporation, EmCare,  Inc., its
                                      its subsidiaries
                                          subsidiaries and affiliates (collectively
                                                       and affiliates  (collectively "EmCare"),
                                                                                     "EmCare"), and
                                                                                                and

Relators
Relators Thomas L. Mason.
         Thomas L. Mason. M.D.,
                          M.D., Steven
                                Steven G. Folstad, M.D.,
                                       G. Folstad, M.D., Mid-Atlantic Emergency Medical
                                                         Mid-Atlantic Emergency Medical

Associates (MEMA),
Associates (MEMA), J.
                   J. Michael Cowling, and
                      Michael Cowling, and Jacqueline Meyer (hereafter
                                           Jacqueline Meyer  (hereafter collectively
                                                                        collectively referred
                                                                                     referred

to
 to as "the Parties"),
    as "the Parties"), through
                        through their  authorized representatives.
                                 their authorized representatives.

                                              RECITALS
                                              RECITALS

        A.
        A.      EmCare
                EmCare contracts
                       contracts to provide qualified
                                 to provide qualified physicians
                                                      physicians and
                                                                 and related
                                                                     related medical
                                                                             medical

professionals
professionals to
              to staff Emergency Departments
                 staff Emergency Departments (ED)
                                             (ED) and
                                                  and provide
                                                      provide inpatient hospitalist services
                                                              inpatient hospitalist services to
                                                                                             to

hospitals
hospitals throughout
          throughout the United States.
                     the United States. EmCare,
                                        EmCare, at
                                                at various dates between
                                                   various dates between January
                                                                         January 1,
                                                                                 1. 2008
                                                                                    2008 and
                                                                                         and

December 31. 2012,
December     2012, had
                   had contracts    provide ED physicians
                                 to provide
                       contracts to            physicians at 37 hospitals owned
                                                             37 hospitals owned or
                                                                                or operated
                                                                                   operated

by Health Management Associates (HMA),
by                              (HMA), a Delaware             that was headquartered
                                         Delaware corporation that     headquartered in
                                                                                     in

Naples, Florida,
Naples,                       acquired by Community Health Systems on January 27, 2014. In
        Florida, until it was acquired                                                  In

addition, EmCare, at various dates between January 1, 2008 and December 31, 2012, had

                     hospitalist physicians to provide services at five HMA hospitals.
contracts to provide hospitalist

Attachment A lists the HMA hospitals that had ED contracts with EmCare and the dates thereof.

                        I IMA hospitals that had hospitalist contracts with EmCare and the dates
           l3 lists the HMA
Attachment B

thereof
thereof.

        B.
        B.      On September 23, 2010, Thomas Mason, M.D., Stephen Folstad, M.D. and their

                                                                        lain action in the
medical practice, MEMA (collectively, "the MEMA Relators"), filed a qui tarn

United States District Court for the Western District of North Carolina, captioned United States
                                              -1-

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& the States of North Carolina, Florida, Georgia, Oklahoma, Tennessee & Texas ex rel. Mason,

Folstad & MEMA v. Health Mgmt. Assocs., Mooresville Hosp. Mgmt. Assocs., LLC d/b/a Lake

Norman Med. Ctr., Statesville HMA LLC d/b/a Davis Regl Med Ctr., Emergency Med. Servs.,

Corp., EmCare Inc., EmCare Holdings, Inc., and Emergency Med. Servs., L.P., No. 3: 10-cv-

472, pursuant to the qui tam provisions of the False Claims Act, 31 U.S.C. § 3730(b) (the

MEMA Civil Action). On January 9, 2013, Relators Thomas Mason, M.D., Stephen Folstad,

M.D. and their medical practice, MEMA filed their severed second amended complaint (- the

MEMA severed SAC") in the United States District Court for the Western District of North

Carolina. On December 16, 2013, the United States intervened in the MEMA Civil Action with

regard to certain claims against the HMA defendants, and sought an extension of time to make

an intervention decision regarding the EmCare defendants.

       C.      On July 15, 2011, Jacqueline Meyer and Michael Cowling (collectively, "the

Meyer Relators") filed a qui tam action in the United States District Court for the District of

South Carolina, captioned United States & the States of Florida, Georgia, North Carolina,

Oklahoma, Tennessee & Texas ex rel. Meyer and Cowling v. Health Mgmt. Assocs., Gary D.

Newsome, Emergency Med. Servs. Corp. & EmCare, Inc.. No. 0-11-cv-01713-JA, pursuant to

the qui tam provisions of the False Claims Act, 31 U.S.C. § 3730(b) (the Meyer Civil Action).

On December 16, 2013, the United States intervened in the Meyer Civil Action with regard to

certain claims against the 11MA defendants and Newsome, and sought an extension of time to

make an intervention decision regarding the EmCare defendants.

        D.     Relators allege that because ED physicians at HMA hospitals generally did not

have admitting privileges, the ED physicians had to call the patient's attending physician or the

assigned hospitalist physician to recommend inpatient admission. Relators allege, inter alia, that

HMA and EmCare pressured EmCare ED physicians to recommend admission For Medicare
                                        2

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patients without regard to the medical necessity of inpatient admission. Relators allege that

HMA discouraged the use of observation status for ED patients in favor of higher-paying

inpatient admissions. Relators further allege that EmCare conspired with and caused HMA

hospitals to submit claims to Medicare, Medicaid and the TRICARE program for medically

unnecessary inpatient admissions from their EDs. Additionally, Relators allege that EmCare ED

physicians' recommendations of inpatient admission to admitting physicians caused HMA to

submit medically unnecessary inpatient claims for services that should have been billed as

outpatient services. Relators also allege that HMA offered and provided remuneration to

EmCare to induce EmCare to cause its physicians to recommend inpatient admission for ED

patients whose condition did not warrant inpatient admission. Relators allege that inpatient

admissions from the ED increased at the HMA hospitals that also contracted with EmCare to

provide hospitalist services. Relators Meyer and Cowling further allege that HMA and EmCare

agreed that EmCare hospitalises would not refuse an inpatient admission recommendation from

an EmCare ED physician.

        E.     On January 14, 2014, the United States filed a motion with the Judicial Panel on

Multidistrict Litigation to consolidate the MEMA and Meyer Civil Actions with seven other

False Claims Act qui tarn actions. On April 2, 2014, the Judicial Panel on Multidistrict

Litigation granted the United States' motion and assigned the cases to the Honorable Reggie

Walton, United States District Judge for the District of the District of Columbia, for pre-trial

proceedings. The HMA MDL is Miscellaneous Action No. 14-339 (RBW), MDL Docket No.

2524. Within the MDL, the MEMA Civil Action is assigned Case No. 1:14-cv-579 and the

Meyer Civil Action is assigned Case No. 1:14-cv-586.

        F.     The United States contends that EmCare caused HMA hospitals to submit claims

for payment to the Medicare Program, Title XVIII of the Social Security Act, 42 U.S.C.
                                            -3-

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§§ 1395-1395kkk-1 (- Medicare"), the Medicaid Program, 42 U.S.C. §§ 1396-1396w-5

("Medicaid"); and the TRICARE Program, 10 U.S.C. §§ 1071-1110b ("TRICARE")

(collectively - Government Healthcare Programs").

       G.     In order to resolve claims filed pursuant to the qui tam provisions of state false

claims laws asserted in the MEMA Civil Action and the Meyer Civil Action, EmCare will be

entering into separate settlement agreements (the Medicaid State Settlement Agreements) with

certain states. The states that enter into the Medicaid State Settlement Agreements with EmCare

(the Medicaid Participating States) will be receiving settlement funds from EmCare pursuant to

Paragraph 1(b) below.

       H.     Covered Conduct: The United States contends that it has certain civil claims

against EmCare arising from the following conduct during the contract time periods specified on

Attachments A and B (hereinafter referred to as the "Covered Conduct"):

              1. Medically Unnecessary Emergency Department Admissions

               From January 1, 2008 through December 31, 2012, EmCare conspired with HMA

hospitals to submit or caused HMA hospitals to submit claims for payment to the Government

Healthcare Programs for certain inpatient admissions of Government I-lealthcare Program

beneficiaries that were medically unnecessary and should have been billed as outpatient or

observation services. Specifically, certain inpatient admission recommendations made by

EmCare ED physicians to admitting physicians, including but not limited to EmCare hospitalists,

at HMA hospitals caused the medically unnecessary admission of Government Healthcare

Program beneficiaries. Further, the United States alleges that certain inpatient admission

decisions of EmCare hospitalists, whether acting on the recommendation of EmCare ED

physicians or other ED physicians, or on their own initiative, caused medically unnecessary

admissions of Government I lealthcare Program beneficiaries. The Covered Conduct in this
                                            -4-

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Recital H.1. is specifically limited to claims submitted by the HMA hospitals listed on

Attachments A and B during the time periods of their EmCare contracts that were related to the

inpatient admission and treatment of Government Healthcare Program beneficiaries that meet all

of the following criteria:

               (a)     For beneficiaries who originally presented to the ED of the HMA

                       hospitals;

               (b)     For beneficiaries whose length of stay after inpatient admission was two

                       (2) days or less;

               (c)      For beneficiaries who were 65 years or older at the time they originally

                       presented to the ED of an HMA hospital;

               (d)      For beneficiaries who were not transferred or discharged to another acute

                       care facility, did not leave the HMA hospital to which they originally

                       presented against medical advice, and did not die while in a HMA

                        hospital; and

               (e)      That were billed to the Government Healthcare programs under one of the

                        following Medical Severity DRGs ("MS-DRGs"):

                       (i)     MS-DRG 069 (transient ischemia); 149 (disequilibrium), 192

                               (chronic obstructive pulmonary disease without CC/MCC); 195

                               (simple pneumonia and pleurisy without CC/MCC), 203

                               (bronchitis and asthma without CC/MCC), 204 (respiratory signs

                               and symptoms), 293 (heart failure and shock without CC/MCC);

                               303 (atherosclerosis without MCC), 305 (hypertension without

                               MCC), 310 (cardiac arrhythmia & conduction disorder without

                               CC/MCC); 312 (syncope and collapse); 313 (chest pain); 392
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                            (esophagitis, gastroenteritis and miscellaneous digestive disorders

                            without MCC); 639 (diabetes without CC/MCC), 641 (nutritional

                            and miscellaneous metabolic disorders without MCC); 690 (kidney

                            and urinary tract infections without MCC), 812 (red blood cell

                            disorders without MCC) and 948 (signs and symptoms without

                            MCC).

                    (ii)    For hospitals acquired by HMA during the covered period of

                            January 1, 2008 through December 31, 2012, claims for services

                            rendered 365 days after the facility was acquired by HMA through

                            December 31, 2012. The relevant time period for each EmCare

                            contract with each HMA hospital is listed on Attachments A and

                            B.

                    For Medicare claims only, inpatient admissions billed and paid under fee

                    for service Medicare Part A, where Medicare was the primary payor of the

                    claim and the claim resulted in payment by Medicare.

              (g)    For Medicaid claims only, inpatient admissions of Medicare-Medicaid

                    dual eligible patients billed and paid under fee for service Medicare Part A

                    and the Medicaid program of one of the States, and the claim resulted in

                     payment by Medicaid.

              (h)    For TRICARE claims only, inpatient admissions of Medicare-TRICARE

                     dual eligible patients billed and paid under fee for service Medicare Part A

                     and TRICARE, and the claim resulted in payment by TRICARE.




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                2.      Violations of the Medicare and Medicaid Anti-Kickback Statute

                The United States contends that HMA offered and provided remuneration to

 EmCare, in the form of service contracts and payments, in return for ED physician inpatient

admission recommendations of Government Healthcare Program beneficiaries made without

regard to the medical necessity of admission. in violation of the Medicare and Medicaid Anti-

Kickback Statute, 42 U.S.C. § 1320-7b(b). The illegal remuneration included the award of

service contracts, the retention of service contracts that HMA threatened to terminate unless ED

admissions increased, payments under the 1-IMA-EmCare hospital ED physician and hospitalise

contracts, and bonus payments made to ED physicians where the bonuses were tied, in part, to

meeting numerical targets for the percentage of attending physicians called by the ED physician.

          I.    This Settlement Agreement is neither an admission of liability by EmCare nor a

concession by the United States and Relators that their claims are not well founded.

          J.    Relators claim entitlement under 31 U.S.C. § 3730(d) and analogous provisions of

state false claims laws to a share of the proceeds of this Settlement Agreement, the Medicaid

State Settlement Agreements, and to each Relator's reasonable expenses, attorneys' fees and

costs.

         K.    To avoid the delay, uncertainty, inconvenience, and expense of protracted

litigation of the above claims, and in consideration of the mutual promises and obligations of this

Settlement Agreement, the Parties agree and covenant as follows:

                                  PERMS AND CONDITIONS

         1.    EmCare shall pay to the United States and the Medicaid Participating States,

collectively, the sum of twenty-nine million, eight hundred thousand dollars ($29,800,000), plus

interest accruing since September 8. 2015 at a rate of 2.125 percent, continuing until and

including the day of payment (Settlement Amount). The Settlement Amount shall constitute a
                                             7

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debt immediately due and owing to the United States and the Medicaid Participating States on

the effective date of this Agreement. This debt shall be discharged by payments to the United

States and the Medicaid Participating States, under the following terms and conditions:

(a) EmCare shall pay to the United States the sum of $29,632,891, plus accrued interest as set

forth above (Federal Settlement Amount). The Federal Settlement Amount shall be paid no later

than 10 days after the Effective Date of this Agreement by electronic funds transfer pursuant to

written instructions to be provided by the Civil Division of the United States Department of

Justice; and (b) No later than 10 days after the Effective Date of this Agreement, EmCare shall

deposit the sum of $167.109. plus accrued interest as set forth above (Medicaid State Settlement

Amount) into one or more interest-bearing money market or bank accounts that are held in the

name of EmCare, but segregated from other EmCare accounts (the State Settlement Accounts),

and make payment from the State Settlement Accounts to the Medicaid Participating States

pursuant to written instructions from the NAMFCU Negotiating Team and under the terms and

conditions of the Medicaid State Settlement Agreements that EmCare will enter into with the

Medicaid Participating States.

        2.     Conditioned upon the United States receiving the Federal Settlement Amount

from EmCare and as soon as feasible after receipt, the United States shall pay $ 6,222,907.11

plus pro rata accrued interest to Relators Mason, Folstad and MEMA by electronic funds

transfer.

        3.     The Settlement Amount does not include the MEMA Relators' or the Meyer

Relators' expenses, attorneys' fees and costs, pursuant to 31 U.S.C. § 3730(d). In settlement of

the Meyer Relators' claims against EmCare for expenses, attorneys' fees and costs, and Relator

Meyer's claim against EmCare for wrongful termination under 31 U.S.C. § 3730(h), EmCare and


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the Meyer Relators have entered into a separate Agreement executed on May 21, 2017 (Meyer

Relators-EmCare Agreement).

       4.     Subject to the exceptions in Paragraph 8 (concerning excluded claims) below, and

conditioned upon EmCare's full payment of the Federal Settlement Amount, the United States

releases EmCare from any civil or administrative monetary claim the United States has for the

Covered Conduct under the False Claims Act, 31 U.S.C. §§ 3729-3733; the Civil Monetary

Penalties Law, 42 U.S.C. § 1320a-7a; the Program Fraud Civil Remedies Act, 31 U.S.C.

§§ 3801-3812; or the common law theories of payment by mistake, unjust enrichment, and fraud.

       5.      Subject to the exceptions in Paragraph 8 (concerning excluded claims) below, and

conditioned upon EmCare's full payment of the Federal Settlement Amount, Relators, for

themselves and for their heirs, successors, attorneys, agents, and assigns, release EmCare from

any civil monetary claim the Relators have on behalf of the United States for the Covered

Conduct under the False Claims Act. 31 U.S.C. §§ 3729-3733.

       6.      In consideration of the obligations of EmCare in this Agreement and the

Corporate Integrity Agreement (CIA), entered into between OIG-HHS and Envision Healthcare

Corporation, and conditioned upon EmCare's full payment of the Federal Settlement Amount,

the OIG-HHS agrees to release and refrain from instituting, directing, or maintaining any

administrative action seeking exclusion from Medicare, Medicaid, and other Federal health care

programs (as defined in 42 U.S.C. § 1320a-7b(f)) against EmCare under 42 U.S.C. § 1320a-7a

(Civil Monetary Penalties Law) or 42 U.S.C. § 1320a-7(b)(7) (permissive exclusion for fraud,

kickbacks, and other prohibited activities) for the Covered Conduct, except as reserved in this

Paragraph and in Paragraph 8 (concerning excluded claims), below. The OIG-HHS expressly

reserves all rights to comply with any statutory obligations to exclude EmCare from Medicare.

Medicaid, and other Federal health care programs under 42 U.S.C. § 1320a-7(a) (mandatory
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exclusion) based upon the Covered Conduct. Nothing in this Paragraph precludes the OIG-HHS

from taking action against entities or persons, or for conduct and practices, for which claims

have been reserved in Paragraph 8, below.

       7.      In consideration of the obligations of EmCare set forth in this Agreement, and

conditioned upon EmCare's full payment of the Federal Settlement Amount, DHA agrees to

release and refrain from instituting, directing, or maintaining any administrative action seeking

exclusion from the TRICARE Program against EmCare under 32 C.F.R. § 199.9 for the Covered

Conduct, except as reserved in this Paragraph and in Paragraph 8 (concerning excluded claims),

below. DHA expressly reserves authority to exclude EmCare from the TRICARE Program

under 32 C.F.R. §§ 199.9 (f)(1)(i)(A), (f)(1)(i)(B), and (f)(1)(iii) (mandatory exclusion), based

upon the Covered Conduct. Nothing in this Paragraph precludes DHA or the TRICARE

Program from taking action against entities or persons, or for conduct and practices, for which

claims have been reserved in Paragraph 8, below, and as reserved in this Paragraph.

       8.      Notwithstanding the releases given in paragraphs 4 through 7 of this Agreement

or any other term of this Agreement, the following claims of the United States are specifically

reserved and are not released:

               a.      Any liability arising under Title 26, U.S. Code (Internal Revenue Code);

               b.      Any criminal liability;

               c.      Except as explicitly stated in this Agreement, any administrative liability,

                       including mandatory exclusion from Federal health care programs;

               d.      Any liability to the United States (or its agencies) for any conduct other

                       than the Covered Conduct;

               e.      Any liability based upon obligations created by this Agreement;


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               f.      Any liability of any other defendants named in the MEMA or Meyer Civil

                       Actions;

               g.      Any liability of individuals;

               h.      Any liability for express or implied warranty claims or other claims for

                       defective or deficient products or services, including quality of goods and

                       services;

               1..     Any liability for failure to deliver goods or services due; and

               j.      Any liability for personal injury or property damage or for other

                       consequential damages arising from the Covered Conduct.

       9.      Relators and their heirs, successors, attorneys, agents, and assigns shall not object

to this Agreement but agree and confirm that this Agreement is fair, adequate, and reasonable

under all the circumstances, pursuant to 31 U.S.C. § 3730(c)(2)(B). Conditioned upon receipt by

Relators MEMA, Mason, and Folstad of the payment described in Paragraph 2, each of the

MEMA Relators and Meyer Relators and their heirs, successors, attorneys, agents, and assigns

fully and finally releases, waives, and forever discharges the United States, its agencies, officers,

agents, employees, and servants, from any claims arising from the filing of the MEMA and

Meyer Civil Actions or under 31 U.S.C. § 3730, and from any claims to a share of the Federal

Settlement Amount and/or the MEMA and Meyer Civil Actions with respect to claims Relators

have asserted or could have asserted on behalf of the United States against EmCare.

        10.     In consideration of and conditioned upon EmCare's full payment of the

 Federal Settlement Amount, and EmCare's full payment of the amounts set forth in the Meyer

Relators-EmCare Agreement, the Meyer Relators, for themselves, and for their heirs, successors,

attorneys, agents, and assigns, release EmCare, and its officers, agents, and employees, from any




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liability to Relators from the filing of the Civil Action, or under 31 U.S.C. § 3730(d) for

expenses or attorney's fees and costs.

       11.      EmCare waives and shall not assert any defenses EmCare may have to any

criminal prosecution or administrative action relating to the Covered Conduct that may be based

in whole or in part on a contention that, under the Double Jeopardy Clause in the Fifth

Amendment of the Constitution, or under the Excessive Fines Clause in the Eighth Amendment

of the Constitution, this Agreement bars a remedy sought in such criminal prosecution or

administrative action. Nothing in this paragraph or any other provision of this Agreement

constitutes an agreement by the United States concerning the characterization of the Settlement

Amount for purposes of the Internal Revenue laws, Title 26 of the United States Code.

          12.   EmCare fully and finally releases the United States, its agencies, officers, agents,

employees, and servants, from any claims (including attorneys' fees, costs, and expenses of

every kind and however denominated) that EmCare has asserted, could have asserted, or may

assert in the future against the United States, its agencies, officers, agents, employees, and

servants, related to the Covered Conduct and the United States' investigation and prosecution

thereof

          13.   EmCare fully and finally releases each Relator from any claims (including

attorneys' fees, costs, and expenses of every kind and however denominated) that EmCare has

asserted. could have asserted, or may assert in the future against each Relator, related to the

Covered Conduct and each Relator's investigation and prosecution thereof.

          14.   The Settlement Amount shall not be decreased as a result of the denial of claims

for payment now being withheld from payment by any Medicare or TRICARE contractor (e.g.,

Medicare Administrative Contractor, fiscal intermediary, carrier) or any state payer, related to

the Covered Conduct; and EmCare agrees not to resubmit to any Medicare or TRICARE
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contractor or any state payer any previously denied claims related to the Covered Conduct,

agrees not to appeal any such denials of claims, and agrees to withdraw any such pending

appeals.

       15.     EmCare agrees to the following:

              a.      Unallowable Costs Defined: All costs (as defined in the Federal

Acquisition Regulation, 48 C.F.R. § 31.205-47; and in Titles XVIII and XIX of the Social

Security Act, 42 U.S.C. §§ 1395-1395kkk-1 and 1396-1396w-5; and the regulations and official

program directives promulgated thereunder) incurred by or on behalf of EmCare, its present or

former officers, directors, employees, shareholders, and agents in connection with:

               (1)    the matters covered by this Agreement;

               (2)    the United States' audit(s) and civil and any criminal investigation(s) of

                      the matters covered by this Agreement;

               (3)    EmCare's investigation, defense, and corrective actions undertaken in

                      response to the United States' audit(s) and civil and any criminal

                      investigation(s) in connection with the matters covered by this Agreement

                      (including attorneys' fees);

               (4)    the negotiation and performance of this Agreement;

               (5)    the payment EmCare makes to the United States pursuant to this

                      Agreement and any payments that EmCare may make to the Relators.

                       including costs and attorneys' fees; and

               (6)     the negotiation of, and obligations undertaken pursuant to the CIA to:

                      (i) retain an independent review organization to perform annual reviews as

                       described in Section III of the CIA; and (ii) prepare and submit reports to

                       the OIG-HHS
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are unallowable costs for government contracting purposes and under the Medicare Program,

Medicaid Program, TRICARE Program, and Federal Employees Health Benefits Program

(FEHBP) (hereinafter referred to as Unallowable Costs). However, nothing in paragraph 15.a.(6)

that may apply to the obligations undertaken pursuant to the CIA affects the status of costs that

are not allowable based on any other authority applicable to EmCare.

               b.      Future Treatment of Unallowable Costs: Unallowable Costs shall be

separately determined and accounted for by EmCare, and EmCare shall not charge such

Unallowable Costs directly or indirectly to any contracts with the United States or any State

Medicaid program, or seek payment for such Unallowable Costs through any cost report, cost

statement, information statement, or payment request submitted by EmCare or any of its

subsidiaries or affiliates to the Medicare, Medicaid, TRICARE, or FEHBP Programs.

               c.      Treatment of Unallowable Costs Previously Submitted for Payment:

EmCare further agrees that within 90 days of the Effective Date of this Agreement it shall

identify to applicable Medicare and IRICARE fiscal intermediaries, carriers, and/or contractors,

and Medicaid and FEHBP fiscal agents, any Unallowable Costs (as defined in this Paragraph)

included in payments previously sought from the United States, or any State Medicaid program,

including, but not limited to, payments sought in any cost reports, cost statements, information

reports, or payment requests already submitted by EmCare or any of its subsidiaries or affiliates,

and shall request, and agree, that such cost reports, cost statements, information reports, or

payment requests, even if already settled, be adjusted to account for the effect of the inclusion of

the Unallowable Costs. EmCare agrees that the United States, at a minimum, shall be entitled to

recoup from EmCare any overpayment plus applicable interest and penalties as a result of the

inclusion of such Unallowable Costs on previously-submitted cost reports, information reports,

cost statements, or requests for payment.
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United States — EmCare Settlement Agreement


       Any payments due after the adjustments have been made shall be paid to the United

States pursuant to the direction of the Department of Justice and/or the affected agencies. The

United States reserves its rights to disagree with any calculations submitted by EmCare or any of

its subsidiaries or affiliates on the effect of inclusion of Unallowable Costs (as defined in this

Paragraph) on EmCare or any of its subsidiaries or affiliates' cost reports, cost statements, or

information reports.

               d.      Nothing in this Agreement shall constitute a waiver of the rights of the

United States to audit, examine, or re-examine EmCare's books and records to determine that no

Unallowable Costs have been claimed in accordance with the provisions of this Paragraph.

        16.            EmCare agrees to cooperate fully and truthfully with the United States'

investigation of individuals and entities not released in this Agreement. Upon reasonable notice,

EmCare shall encourage, and agrees not to impair, the cooperation of its directors, officers, and

employees, and shall use its best efforts to make available, and encourage, the cooperation of

former directors, officers, and employees for interviews and testimony, consistent with the rights

and privileges of such individuals. EmCare further agrees to furnish to the United States, upon

request, complete and unredacted copies of all non-privileged documents, reports, memoranda of

interviews, and records in its possession, custody, or control concerning any investigation of the

Covered Conduct that it has undertaken, or that has been performed by another on its behalf.

        17.     This Agreement is intended to be for the benefit of the Parties only. The Parties

do not release any claims against any other person or entity, except to the extent provided for in

Paragraph 18 (waiver for beneficiaries paragraph), below.

        18.     EmCare agrees that it waives and shall not seek payment for any of the health

care billings covered by this Agreement from any health care beneficiaries or their parents,


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United States — EmCare Settlement Agreement


sponsors, legally responsible individuals, or third party payors based upon the claims defined as

Covered Conduct.

       19.       Upon receipt of the payment described in Paragraph 1 above, the United States

shall promptly intervene in each of the Civil Actions and the United States and the Relators shall

          a.     Promptly sign and file in each of the Civil Actions Joint Stipulations of Dismissal

          of the Claims against EmCare pursuant to Rule 41(a)(1) in the form provided in

          Attachments C and D, as well as a Proposed Order in the form provided in

          Attachments E and F;

          b.     Provided, however, that the following claims shall not be dismissed, unless they

          are settled, adjudicated, or otherwise resolved, and any required consent by the United

             States is obtained, and the Courts are so informed:

                         1.     Claims the MEMA Relators may have for reasonable attorneys' fees,

                                 expenses, and costs pursuant to 31 U.S.C. § 3730(d), analogous state

                                 FCA statutes, and under state law for Counts X through XII of the

                                 SAC;

                         ii.     Claims the MEMA Relators have under § 3730(h), comparable state

                                 laws, and under state law for Counts X through XII of the SAC; and

                         iii.    The MEMA and Meyer Relators' claims for a relator's share under

                                 the Medicaid state settlement agreements;

         20.      Except for the claims that are resolved by the Meyer Relators-EmCare

Agreement, and except for the Relators' claims for attorneys' fees and costs that are expressly

reserved in Paragraph 19(b)(i) and (ii) above, each Party shall bear its own legal and other costs

 incurred in connection with this matter. including the preparation and performance of this

 Agreement.
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United States — EmCare Settlement Agreement


           21.   Each party and signatory to this Agreement represents that he, she or it freely and

voluntarily enters into this Agreement without any degree of duress or compulsion.

           22.   This Agreement is governed by the laws of the United States. The exclusive

jurisdiction and venue for any dispute relating to this Agreement is the United States District

Court for the District of Columbia, except for disputes arising from those claims excluded under

Paragraph 19 of this Agreement that may be remanded to another district court pursuant to 28

U.S.C. § 1407(a). For purposes of construing this Agreement, this Agreement shall be deemed

to have been drafted by all Parties to this Agreement and shall not, therefore, be construed

against any Party for that reason in any subsequent dispute.

           23.   This Agreement constitutes the complete agreement between the Parties. This

Agreement may not be amended except by written consent of the Parties.

           24.   The undersigned counsel represent and warrant that they are fully authorized to

execute this Agreement on behalf of the persons and entities indicated below.

           25.   This Agreement may be executed in counterparts, each of which constitutes an

original and all of which constitute one and the same Agreement.

           26.   This Agreement is binding on EmCare's successors, transferees, heirs, and

assigns.

           27.   This Agreement is binding on Relators' successors, transferees, heirs, and assigns.

           28.   All parties consent to the United States' disclosure of this Agreement, and

information about this Agreement, to the public.

           29.   This Agreement is effective on the date of signature of the last signatory to the

Agreement (Effective Date of this Agreement). Facsimiles and electronic transmissions of

signatures shall constitute acceptable, binding signatures for purposes of this Agreement.


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                   THE UNITED STATES OF AMERICA


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DATED:               BY:
                            Marie V. Bonkowski
                            Laurie A. Oberembt
                            Senior Trial Counsel
                            Commercial Litigation Branch
                            Civil Division
                            United States Department of Justice



DATED:               BY:
                            Jonathan Ferry
                            Assistant United States Attorney
                            Western District of North Carolina




DATED:               BY:
                            Jennifer Aldrich
                            Assistant United States Attorney
                            District of South Carolina




DATED:                BY:
                            Lisa M. Re
                            Assistant Inspector General for Legal Affairs
                            Office of Counsel to the Inspector General
                            Office of Inspector General
                            United States Department of Health and Human Services




DATED:                BY:
                            LEIGH A. BRADLEY
                            General Counsel
                            Defense Health Agency
                            United States Department of Defense
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                   THE UNITED STATES OF AMERICA




DATED:               BY:
                            Marie V. Bonkowski
                            Laurie A. Oberembt
                            Senior Trial Counsel
                            Commercial Litigation Branch
                            Civil Division
                            United States Department of Justice

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DATED: /2 II-17      BY:
                            onathan Ferry
                            Assistant United States Attorney
                            Western District of North Carolina




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                            Jennifer Aldrich
                            Assistant United States Attorney
                            District of South Carolina




DATED:                BY:
                            Lisa M. Re
                            Assistant Inspector General for Legal Affairs
                            Office of Counsel to the Inspector General
                            Office of Inspector General
                            United States Department of Health and Human Services




DATED:                BY:
                            LEIGH A. BRADLEY
                            General Counsel
                            Defense Health Agency
                            United States Department of Defense
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DA FED:                   BY:
                                 Marie V. Bonkowski
                                 Laurie A. Oberembt
                                 Senior Trial Counsel
                                 Commercial Litigation Branch
                                 Civil Division
                                 United States Department of Justice



DATED:                     BY:
                                 Jonathan Ferry
                                 Assistant United States Attorney
                                 Western District of North Carolina




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                                  ennifer A ich
                                 Assistant lnited States Attorney
                                 District of South Carolina




DAM/                       BY:
                                 Lisa M. Re
                                 Assistant Inspector General thr Legal Affairs
                                 Office of Counsel to the Inspector General
                                 Office of Inspector General
                                 United States Department of Health and 1 luman Services




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                                 General Counsel
                                 Defense Health Agency
                                 United States Department of Defense
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                        THE UNITED STATES OF AMERICA




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                                Commercial Litigation Branch
                                Civil Division
                                United States Department of Justice



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                                Jennifer Aldrich
                                Assistant United States Attorney
                                District of South Carolina




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                                Lisa M. Re
                                Assistant Inspector General for Legal Affairs
                                Office of Counsel to the Inspector General
                                Office of Inspector General
                                United States Department of Health and Human Services




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                                General Counsel
                                Defense Health Agency
                                United States Department of Defense
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                    THE UNITED STATES OF AMERICA




DATED:                BY:
                              Marie V. Bonkowski
                              Laurie A. Oberembt
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                              Commercial Litigation Branch
                              Civil Division
                              United States Department of Justice



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                              Jonathan Ferry
                              Assistant United States Attorney
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                              Jennifer Aldrich
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                              District of South Carolina




DATED:                 BY:
                              Lisa M. Re
                              Assistant Inspector General for Legal Affairs
                              Office of Counsel to the Inspector General
                              Office of Inspector General
                              United States Department of Health and Human Services


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                              LEIGH A. BRADLEY
                              General Counsel
                        for   Defense Health Agency
                              United States Department of Defense
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DATED: 40/              BY:
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                                      REL4TORS


                         Relator Thomas L. Mason, M.D., FACEP




         12.1        n
DATED:                      BY:
                                   Thomas L. Mason



                            Relator Steven G. Folstad M.D., FACEP




DATED:                      BY:
                                   Steven G. Folstad, M.D.



                Relator Mid-Atlantic Emergency Medical Associates, P.A.




DATED:                       BY:
                                   Timothy E. Lietz, MD, FACEP, President/CEO
                                   Mid-Atlantic Emergency Medical Associates, P.A..


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                                    PIF,TR \GALLO GOR.DON ALVAN()
                                     BOST to & RASPANTI, LLP
                                    Marc S. Raspanti, Esquire
                                    Pamela Coyle Brecht, Esquire
                                    Michael A. Morse, Esquire


                                    WYATT & BLAKE, LL.P
                                    James F. Wyatt, III, Esquire



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                                              RELATORS


                                Relator Thomas L. Mason, M.D., FACEP




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                                          Thomas L. Mason



                                  Relator Steven G. Folstad, M.D., FACEP




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                  Relator Mid-Atlantic Emergency Medical Associates, P.A.




DATED:                            BY:
                                          Timothy E. Lietz, MD, FACEP, President/CEO
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                                                    & RASPANTI, LLP
                                          Marc S. Raspanti, Esquire
                                          Pamela Coyle Brecht, Esquire
                                          Michael A. Morse, Esquire


                                          WYATT & BLAKE, LLP
                                          James F. Wyatt, III. Esquire



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        Case 1:14-mc-00339-RBW Document 71




                                          RELATORS


                         Relator Thomas L. Mason, M.D., FACEP




DA -11',1):                 BY:
                                   "Thomas L. Mason



                            Relator Steven C. Folstad, M.D., FACET'




DATED:                      BY:
                                   Steven G. Folstad, M.D.



                Relator Mid-Atlantic Emergency Medical Associates, Y.A.




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                                    WYATT & BLAKE, LLP
                                    James F. Wyatt, III, Esquire



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                                  RELATORS

                    Relator Thomas L. Mason, M.D., FACEP

DATED:                 BY:
                              Thomas L. Mason


                       Relator Steven G. Folstad, M.D., FACEP

DATED:                 BY:
                              Steven G. Folstad, M.D.


           Relator Mid-Atlantic Emergency Medical Associates, P.A.


DATED:                  BY:
                              Timothy E. Lietz, MD, FACEP, President/CEO
                              Mid-Atlantic Emergency Medical Associates, P.A.

DATED:                  BY:
                              PIETRAGALLO GORDON ALFANO
                               BOSICK & RASPANTI, LLP
                              Marc S. Raspanti, Esquire
                              Pamela Coyle Brecht, Esquire
                              Michael A. Morse, Esquire

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                                Counsel for Relators Thomas L. Mason, MD, Steven G.
                                Foistad, MD and Mid-Atlantic Emergency Medical
                                Associates, P.A.



                               Relator Jacqueline Meyer




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                               Relator Michael Cowling




 DATED:                BY:
                                 Michael Cowling




 DATED: 12.13,17        BY:
                                  V      EL, LADE & GOLDSTEIN, LLP
                                      ne L. Goldstein, Esquire



                                      HE
                                  John Moylan, Esquire
                                      C.


                                  Counsel for Relators Jacqueline Meyer
                                  and Michael Cowling




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                               Counsel for Relators Thomas L. Mason, MD, Steven G.
                               FoIstad, MD and Mid-Atlantio Emergency Medical •
                               Associates, P.A.



                             Relator Jacqueline Meyer




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                               Jacqueline Meyer



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DATED:   /4/3/20/ -7   BY:
                               Michael Cowling




DATED: 12.1 3.17       BY:
                               V EL, SLADE & GOLDSTEIN, LLP
                               J ne L. Goldstein, Esquire



                                    CBE, PA—
                                John C. Moylan, Esquire


                                Counsel for Relators Jacqueline Meyer
                                and Michael Cowling




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 Attachment A to United States — EmCare Settlement Agreement




              EmCare- HMA Emergency Department Contracts

              HMA Hospital Name               Contract Start     End Date
         Biloxi Regional Medical Center             4/1/2009    9/11/2011
         Brooksville Regional Hospital              1/1/2008    4/16/2016
        Carlisle Regional Medical Center            5/1/2008    2/29/2012
     Carolina Pines Regional Medical Center        9/30/2007    12/1/2010
       Central Mississippi Medical Center           8/1/2007    8/31/2011
       Charlotte Regional Medical Center            1/1/2002   12/31/2012
        Chester Regional Medical Center             9/1/2006     7/1/2011
             Crossgates River Oaks                  6/1/2008    6/15/2011
        Dallas Regional Medical Center              1/1/1980    6/14/2011
              Fisherman's Hospital                 11/1/2010   07/01/2011
        Franklin Regional Medical Center           11/1/2007     2/1/2010
      Gilmore Memorial Regional Medical             7/1/2004    8/31/2011
      Heart of Lancaster Regional Medical           6/1/2003   12/31/2012
      Highlands Regional Medical Center             5/1/2008    5/31/2010
     Lake Norman Regional Medical Center          10/30/2010    10/1/2011
       Lancaster Regional Medical Center            6/1/2003   11/30/2012
        Lehigh Regional Medical Center              5/1/2002   10/11/2015
         Lower Keys Medical Center                  4/1/2009    3/31/2015
        Madison County Medical Center               7/1/2007    8/31/2011
        Medical Center of SE Oklahoma              3/15/2009     3/4/2012
        Mesquite Community Hospital               03/01/2004   06/01/2008
          Natchez Community Hospital               11/1/2004    9/30/2011
         Pasco Regional Medical Center             11/1/2004     9/1/2011
      Poplar Bluff Regional Medical Center          8/1/2006     1/1/2011
                 Riley (Meridian)                   9/1/2006   12/31/2010
               River Oaks Hospital                 10/1/2008    8/31/2011
       Riverview Regional Medical Center           8/11/2008   11/30/2010
       Sandhills Regional Medical Center            3/1/1992   11/14/2011
         Sebastian River Medical Center            11/1/2006   12/31/2012
        Sparks Regional Medical Center*             2/1/2010     2/9/2013
          Spring Hill Regional Hospital           01/01/2008   04/14/2016
         Stringfellow Memorial Hospital            4/10/2009   11/15/2010
             Summit Medical Center                 10/1/2009    9/30/2012




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 Attachment A to united States — EmCare Settlement Agreement




       Toppenish Community Hospital          11/1/2007   10/31/2010
     Twin Rivers Regional Medical Center      5/1/2007    4/30/2010
          University Medical Center          6/30/2010    6/29/2013
       Upstate Carolina Medical Center        7/1/2008     9/1/2009
     Yakima Regional Medical & Cardiac        6/3/2005   11/30/2010




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                       EmCare Hospitalist Contracts with HMA Hospitals


Hospital                                City, State        Contract Start   Contract End
Carlisle Regional Medical Center        Carlisle, PA       9/1/2010         2/12/2012
Fast Georgia Regional Medical Center    Statesboro, GA     5/1/2010         7/31/2012
Highlands Regional Medical Center       Sebring, FL        5/1/2008         5/31/2010
Lake Norman Regional Medical Center     Mooresville, NC    10/30/2010       8/1/2011
Sebastian River Medical Center          Sebastian, FL      10/1/2008        12/31/2014




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                                          Attachment C

                              [Insert caption for the Mason ease]


             JOINT STIPULATION OF DISMISSAL OF CLAIMS AGAINST
                               EMCARE, INC.


       Plaintiffs the United States of America and Relators Thomas L. Mason, M.D., Steven G.

Folstad, M.D.. Mid-Atlantic Emergency Medical Associates (MEMA), and Defendants

Emergency Medical Services Corporation, EmCare, Inc., and their subsidiaries and affiliates

(collectively ``EmCare"), acting by and through their respective counsel of record (collectively,

"the Parties"), pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui lain

provisions of the False Claims Act, 31 U.S.C. §3730(b)(1), hereby stipulate as follows:

       In accordance with the terms of the Settlement Agreement among the parties dated

December       2017 (Doc.     ) (the "Settlement Agreement"), the Parties hereby stipulate to the

entry of an order dismissing with prejudice as to the United States its claims based on the

Covered Conduct released in the Settlement Agreement, and without prejudice as to any other

claims the United States may have against EmCare. The Parties further stipulate to entry of an

order dismissing with prejudice as to Relators all claims asserted on behalf of the United States

and Relators against EmCare in the above-captioned action, except the following claims

excluded under Paragraph 19 of the Settlement Agreement shall not be dismissed, unless they are

settled, adjudicated, or otherwise resolved, and any required consent by the United States is

obtained, and the Court is so informed:

                       (1)     Claims that Relators have for reasonable attorneys' fees, expenses,

                               and costs pursuant to 31 U.S.C. § 3730(d) and analogous state



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                              FCA statutes, and under state law for Counts X through XII of the

                              Second Amended Complaint;

                      (2)     Claims that the Relators have under § 3730(h), comparable state

                              laws, and under state law for Counts X through XII of the Second

                              Amended Complaint; and

                      (3)     Claims that the Relators have for a relator's share under the

                              Medicaid State Settlement Agreements which \\ ill be separately

                              entered into by EmCare, the States, and the Relators.

       WHEREFORE, for the foregoing reasons, the Parties respectfully request that the Court

enter an order in the form of the attached proposed order.



                                      Respectfully submitted,




                      [INSERT SIGNATURE BLOCK OF ALL COUNSEL]




                                               -

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                                          Attachment 1)

                        Llnsert caption for the Meyer and Cowling easel


             JOINT STIPULATION OF DISMISSAL OF CLAIMS AGAINST
                               EMCARE, INC.


       Plaintiffs the United States of America and Relators J. Michael Cowling and Jacqueline

Meyer, and the defendants Emergency Medical Services Corporation, EmCare, Inc., and their

subsidiaries and affiliates (collectively "EmCare"), acting by and through their respective

counsel of record (collectively, "the Parties"), pursuant to Rule 41(a) of the Federal Rules of

Civil Procedure and the qui tam provisions of the False Claims Act, 31 U.S.C. §3730(b)(1),

hereby stipulate as follows:

       In accordance with the terms of the Settlement Agreement among the parties dated

December     , 2017 (Doc.       ) (the "Settlement Agreement"), the Parties hereby stipulate to the

entry of an order dismissing with prejudice as to the United States its claims for the Covered

Conduct released in the Settlement Agreement, and without prejudice as to any other claims the

United States may have against EmCare. The Parties further stipulate to the entry of an order

dismissing with prejudice as to Relators all claims asserted on behalf of the United States and

Relators against EmCare in the above-captioned actions, except that Relators' claims for a

relator's share under the Medicaid State Settlement Agreements which will be separately entered

into by EmCare, the States, and the Relators shall not be dismissed, unless they are settled,

adjudicated, or otherwise resolved, and any required consent by the United States is obtained,

and the Court is so informed.

        WHEREFORE, for the foregoing reasons, the Parties respectfully request that the Court

enter an order in the form of the attached proposed order.



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                        Respectfully submitted,



            [INSERT SIGNATURE BLOCK OF ALL PARTIES]




                                 -2-

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                                         Attachment E

                            [insert caption for Mason qui tam case'

                                       PROPOSED ORDER

       AND NOW, this          day of              , 2017, the United States having intervened in

this action against defendants Emergency Medical Services Corporation, EmCare, Inc., and their

subsidiaries and affiliates (collectively "EmCare") on        , 2017 (Doc.    and upon

consideration of the Joint Stipulation of Dismissal of Claims Against EmCare entered into by the

United States, the Relators and EmCare (Doc.         ), it is hereby ORDERED as follows:

        1. All claims asserted against EmCare in the above-captioned action based on the

            Covered Conduct released in the Settlement Agreement (Doc.         ) are dismissed

            with prejudice as to the United States, and all other claims against EmCare in the

            above-captioned action are dismissed without prejudice as to the United States;

        2. All claims asserted on behalf of the United States and Relators against EmCare in

            the above-captioned action are dismissed with prejudice as to Relators, except:

           a. Claims the Relators have for reasonable attorneys' fees, expenses, and costs

               pursuant to 31 U.S.C. § 3730(d) and analogous state statutes, and under state law

               for Counts X through XII of the Second Amended Complaint;

           b. Claims the Relators have under 31 U.S.C. § 3730(h), comparable state laws, and

               under state law for Counts X through XII of the Second Amended Complaint: and

            c. The Relators' claims for a relators' share under the Medicaid State Settlement

               Agreements to be entered into separately by EmCare, the States and the Relators.

         3. The Court shall retain jurisdiction over:




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              a. the claims of the Plaintiff States and Relators against EmCare for claims that

                 the Relators asserted against EmCare on behalf of the States;

              b. claims the relators have under 31 U.S.C. § 3730(h), comparable state laws, and

                 under state law for Counts X through XII of the Second Amended Complaint;

              c. any claim by Relators under 31 U.S.C. § 3730(d) to a share of the proceeds of

                 this Settlement Agreement and to Relators' attorneys' fees, expenses, and costs,

                 unless and until any of the claims in 3.b or 3.c are remanded to another district

                 court pursuant to 28 U.S.C. § 1407(a); and

              d. the United States and Relators' claims against non-settling defendants Health

                 Management Associates, Inc ("HMA"), and the HMA hospitals and

                 subsidiaries named as defendants.




                                            IT IS SO ORDERED.




Dated:
                                    THE HONORABLE REGGIE B. WALTON
                                    UNITED STATES DISTRICT JUDGE




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                                          Attachment F.

                      (insert caption for Meyer and Cowling qui tam case)

                                     PROPOSED ORDER


       AND NOW, this          day of               , 2017, the United States having intervened in

this action against defendants Emergency Medical Services Corporation, EmCare, Inc., and their

subsidiaries and affiliates (collectively "EmCare") on           , 2017 (Doc.     ), and upon

consideration of the Joint Stipulation of Dismissal of Claims Against EmCare entered into by the

United States, the Relators and EmCare (Doc.       ), it is hereby ORDERED as follows:

       1.      All claims asserted against EmCare in the above-captioned action based on the

       Covered Conduct released in the Settlement Agreement are dismissed with prejudice as

       to the United States, and all other claims against EmCare in the above-captioned actions

       are dismissed without prejudice as to the United States;

       2.      All claims asserted on behalf of the United States and Relators against EmCare in

       the above-captioned actions are dismissed with prejudice as to Relators, except Relators'

       claims for a relators' share under the Medicaid State Settlement Agreements to be entered

       into separately by EmCare, the States and the Relators.

       3.      The Court shall retain jurisdiction over the claims of the Plaintiff States and

        Relators against EmCare.

        4.     The Court shall retain jurisdiction over the United States and Relators' claims

        against non-settling defendants Health Management Associates, Inc ("HMA"), and its

        subsidiaries and Gary Newsome, former Chief Executive Officer of EIMA.




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                                  IT IS SO ORDERED.




Dated:
                               THE HONORABLE REGGIE B. WALTON
                               UNITED STATES DISTRICT JUDGE




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